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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

                                                :
In Re: Mammoth Energy Services, Inc.            :       Civil Action No. 19-1682-RGA
Consolidated Stockholder Litigation             :
                                                :



                                              ORDER

                WHEREAS, the above-captioned case was stayed on August 3, 2020, due to

related litigations that are presently pending out of district (see D.I. 30);

                NOW THEREFORE, IT IS HEREBY ORDERED that, the above-captioned case

is ADMINISTRATIVELY CLOSED. The parties shall promptly notify the Court when the

related litigations have been resolved so this case may be reopened and other appropriate action

may be taken.




August 6, 2020                                  /s/ Richard G. Andrews
  DATE                                          UNITED STATES DISTRICT JUDGE
